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                  Exhibit 15
Maarit J. Mentula et al., Immediate adverse events after
  second trimester medical termination of pregnancy:
results of a nationwide registry study, 26 Hum. Reprod.
                       927 (2011)
       Case 2:22-cv-00223-Z
Human Reproduction,                   Document
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                             ORIGINAL ARTICLE Reproductive epidemiology


                             Immediate adverse events after second
                             trimester medical termination of
                             pregnancy: results of a nationwide
                             registry study




                                                                                                                                                                       Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by guest on 10 November 2022
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                             1
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  background: Increasing gestational age is associated with an increased risk of complications in studies assessing surgical termination of
  pregnancy (TOP). Medical TOP is widely used during the second trimester and little is known about the frequency of complications. This
  epidemiological study was undertaken to assess the frequency of adverse events following the second trimester medical TOP and to compare
  it with that after ﬁrst trimester medical TOP.
  methods: This register-based cohort study covered 18 248 women who underwent medical TOP in Finland between 1 January 2003 and
  31 December 2006. The women were identiﬁed from the Abortion Registry. Adverse events related to medical TOP within 6 weeks were
  obtained from the Hospital Discharge Registry.
  results: When compared with ﬁrst trimester medical TOP, second trimester medical TOP increased the risk of surgical evacuation [Adj.
  odds ratio (OR) 7.8; 95% conﬁdence interval (CI) 6.8–8.9], especially immediately after fetal expulsion (Adj. OR 15.2; 95% CI 12.8– 18.0).
  The risk of infection was also elevated (Adj. OR 2.1; 95% CI 1.5 –2.9). Within the second trimester, increased length of gestation did not
  inﬂuence the risk of surgical evacuation or infection after medical TOP.
  conclusions: Medical TOP during the second trimester is generally safe. Surgical evacuation of the uterus is avoided in about two-
  thirds of cases, though it is much more common than after ﬁrst trimester medical TOP. The risks of surgical evacuation and infection do not
  increase with gestational weeks in the second trimester TOP.

   Key words: complication / adverse event / second trimester / termination of pregnancy / medical



                                                                                   However, these data are mostly derived from surgical abortion
Introduction                                                                       (Guttmacher Institute, 2009). In large studies medical TOP using the
With an estimated 29 induced abortions per 1000 women aged 15–44                   combination of mifepristone and misoprostol seems to be more effec-
years globally per annum (Sedgh et al., 2007), termination of an                   tive in earlier gestation (Ashok et al., 2002, 2004). Up to 9 weeks of
unwanted pregnancy is one of the most common gynaecological pro-                   gestation the overall rate of complete abortion can be up to 98% with
cedures. In developed countries, legal termination of pregnancy                    only 2% needing a surgical intervention (Ashok et al., 2002). At 13–21
(TOP) is safe (Sedgh et al., 2007), the overall death rate being 10 per            weeks of gestation the rate of successful abortion has been reported
100 000 procedures (Guttmacher Institute, 2009).                                   to be as high as 97%, with only 8% needing a surgical intervention
  While the overall risks are low, increasing gestational age is, never-           (Ashok et al., 2004).
theless, associated with an increased risk of complications. For                      The method of second trimester TOP is still controversial,
example, from 1988 to 1997 in USA the risk of death increased by                   especially regarding adverse events and complications. Yet studies
38% for each additional week of gestation (Bartlett et al., 2004).                 comparing surgical and medical second trimester TOP are rare and

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                                                                                                                                           EX. 15 pg. 01
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randomized comparison has proven difﬁcult to carry out (Grimes,                well as from national guidelines on TOP (Finnish Medical Society
2008; Lohr et al., 2008). In Northern Europe second trimester TOP              Duodecim, 2007). Data on background characteristics (age, previous
is largely performed medically, i.e. using a combination of mifepristone       pregnancies, socioeconomic and marital status, duration of gestation,
and misoprostol (Lohr et al., 2008). Therefore there is a need for an          year, indication for TOP, place of residence) were identiﬁed from the
                                                                               Abortion Registry (THL, 2010a). Women undergoing TOP for fetal indi-
epidemiological study evaluating the effects following the second tri-
                                                                               cations, i.e. suspected or conﬁrmed fetal anomalies or abnormalities (12
mester medical TOP.
                                                                               women, i.e. 0.07% during the ﬁrst trimester and 844 women, i.e. 42%
    The purpose of the present study was to assess the rate of adverse
                                                                               during the second trimester) were excluded. The ﬁnal diagnosis of the
events and complications following the second trimester medical TOP            fetal indication was not available and as the effect of fetal abnormalities
and to compare it with those following the ﬁrst trimester medical              on the adverse events or complications could not be assessed these preg-
TOP. We focused in particular on haemorrhage, infection and surgical           nancies were excluded from the study analysis.
evacuation in cases of incomplete abortion.                                       TOP is allowed in Finland up to 20 weeks of gestation (140 days of ame-
                                                                               norrhea) or up to 24 weeks of gestation (168 days of amenorrhea) in cases




                                                                                                                                                                 Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by guest on 10 November 2022
                                                                               of a conﬁrmed medical condition of the fetus (FINLEX, 1970). Approval
                                                                               with a legal indication for TOP is needed, though the legislation is inter-
Materials and Methods                                                          preted liberally. The indications can be grouped as medical (women’s or
We performed a register-based cohort study which included women who            fetal health), ethical (e.g. rape) and social reasons. Social reasons include
underwent medical TOP in Finland between 1 January 2003 and 31                 pregnancy and childbirth being an unbearable burden to a woman, age
December 2006. We linked three national registries: the study cohort           under 17 or over 40 years, and 4 or more deliveries. The approval for
was identiﬁed from the Abortion Registry (THL, 2010a) and data on              TOP has to be applied for from The National Supervisory Authority for
adverse events were obtained from the Hospital Discharge Registry              Welfare and Health (Valvira, 2010) for all terminations because of conge-
(THL, 2010b) (ofﬁcial name: Care Registry for Health Care Institutions)        nital anomalies or if gestational weeks are over 12.
and the Cause-of-Death Registry of Statistics Finland (Statistic Finland,         The follow-up time after TOP was 6 weeks (42 days). From the regis-
2010).                                                                         tries described above, we retrieved information on the diagnoses, based
   The ﬂow chart (Fig. 1) shows the formation of the cohorts. When a           on ICD-10, the International Statistical Classiﬁcation of Disease (2010)
woman had more than one induced abortion during the study period,              and operation codes based on the Nordic Classiﬁcation of Surgical Pro-
only the ﬁrst TOP was included. Altogether, 695 (3.5%) women who               cedures (2010) concerning all hospital-inpatient episodes (all hospitals)
underwent medical TOP were excluded from the study. The exclusion cri-         and outpatient visits (all public hospitals) within the follow-up period. Diag-
teria were:                                                                    noses and codes were evaluated to select those considered to be of clini-
                                                                               cal importance and related to TOP.
  (i) Any other concomitant surgical procedure (laparoscopic sterilization,       Complications were divided into following outcomes:
      n ¼ 20) performed at the same time.
 (ii) Data could not be linked to hospital registry (n ¼ 668), i.e. TOP per-     (i) Haemorrhage (any reported haemorrhages).
      formed at a private clinic as outpatient care.                            (ii) Infection (pelvic inﬂammatory disease, endometritis, cervicitis,
(iii) Other reasons (n ¼ 7): one woman with a kidney transplant and                  wound infections, pyrexia of unknown origin, urinary tract infections
      immunosuppressive medication, ﬁve women with twin pregnancies                  and septicemia).
      and one woman with previously diagnosed uterus bicornis.                 (iii) Incomplete abortion (surgical evacuations or any reported incom-
   Data concerning the method of induced abortion was derived from                   plete abortion). Surgical evacuation was divided into three outcomes:
linkage of the Abortion Registry (THL, 2010a) and the Hospital Discharge             total (all patients undergoing evacuation), evacuation at the time of
Registry (THL, 2010b). During 2003 – 2006 medical TOP was deﬁned in                  TOP (i.e. following fetal expulsion and during the ﬁrst stay at the hos-
the Abortion Registry as: use of mifepristone alone or in combination                pital) and evacuation during follow-up (i.e. after the ﬁrst hospital
with misoprostol or other prostaglandins, or prostaglandins alone.                   stay).
Details of the medical methods used were not available. However, mife-
                                                                               Some rare complications were considered as severe complications.
pristone became available in Finland in 2000. Finnish national guidelines
                                                                               They were:
on TOP were published 25 September 2001 (Finnish Medical Society
Duodecim, 2007). This guideline recommends a medical abortion                    (i) Injuries or other reasons for surgical procedures (all injuries, cervical
regimen of 200 mg mifepristone orally followed by vaginal administration             laceration, uterine perforation, all surgical interventions during the
of 0.4 – 0.8 mg misoprostol. For second trimester TOP, the procedure is              time of follow-up).
performed in a hospital setting and misoprostol doses (0.4 mg) are              (ii) Thromboembolic disease (pulmonary embolism, deep vein
repeated every 3 – 4 h up to ﬁve times per day until abortion. Routine               thrombosis).
sonographic evaluation is not recommended following abortion. The              (iii) Death (death from any cause, pregnancy-related death according to
decision to perform surgical evacuation is made on clinical grounds, i.e.            the World Health Organization deﬁnition).
in cases of heavy bleeding or retained placenta. Taking this into consider-
ation, the years 2003 – 2006 were selected for analysis as to the best of      This classiﬁcation was based on that reported in the Joint Study of the
our knowledge during this time period the medical TOP at all durations         Royal College of General Practitioners and the Royal College of Obstetri-
of gestation were performed using the combination of mifepristone and          cians and Gynaecologists (Davies et al., 2004) and further modiﬁed for our
misoprostol throughout Finland.                                                study.
   Participants were divided into two groups according to the weeks of            This study was approved by the Ministry of Social Affairs and Health as
gestation at the time of TOP. First trimester was deﬁned as gestational        required for registry-based studies in Finland. Statistics Finland also gave
weeks up to 12 (84 days of amenorrhea) and second trimester as gesta-          their permission to use conﬁdential personal-level data from the death reg-
tional weeks 13 – 24 (85– 168 days of amenorrhea). This division was           istry. The Data Protection Ombudsman was notiﬁed regarding data linkage
derived from Finnish legislation on induced abortion (FINLEX, 1970) as         before the analyses, as required by the national data-protection legislation.

                                                                                                                                      EX. 15 pg. 02
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  Figure 1 Flow chart detailing the study cohorts. Gw, gestational weeks.



All personal-level data that could be used to identify individuals was        years, unknown or due to woman’s health issues and less often social
removed before the actual analysis was started.                               (i.e. continuation of pregnancy, and subsequent childbirth forming an
                                                                              unbearable burden to the woman) than for the ﬁrst trimester
Statistical analysis                                                          medical TOP.
Statistical analyses were performed using Predictive Analysis Software            The main adverse events and complications (haemorrhage, infec-
(PASW) 18.0 for Mac (SPSS Inc., Chicago, IL, USA). Differences in con-        tion, incomplete abortion, i.e. of the requirement for surgical evacua-
tinuous variables were analysed with Mann– Whitney U-test for skewed          tion) are shown in Table II. Medical second trimester TOP increased
data and data were presented as median and interquartile range (IQR).         the risk of surgical evacuation, especially immediately after expulsion of
The x 2 test or Fisher’s exact test were used as appropriate for indepen-     the fetus when compared with the ﬁrst trimester medical TOP.
dent nominal data. The level of statistical signiﬁcance was P , 0.05. In      Second trimester medical TOP was also associated with a higher
the analysis of surgical evacuation percentages during the observed time,
                                                                              risk of infection. The risk of haemorrhage was lower during and
95% conﬁdence interval (CI) for percentage was presented. Binary logistic
                                                                              after second trimester TOP, except in cases when surgical evacuation
regression models were used to adjust for differences in the background
characteristics in comparison of the ﬁrst and second trimester TOP.           of residual tissue was needed.
The background characteristics that differed statistically signiﬁcantly           Medical TOP was followed by 23 (0.13%) surgical procedures other
between the groups were entered in the analysis. Estimated risks are pre-     than evacuation, i.e. severe complications. Of these, 20 (0.12%)
sented as odds ratios (OR) with 95% CIs.                                      occurred after ﬁrst trimester medical TOP and 3 (0.26%) after
                                                                              second trimester medical TOP (P , 0.2). First trimester medical
                                                                              TOP was followed by a laparoscopic saturation of the uterus in
Results                                                                       three cases and 17 other repairing operations and second trimester
The observed cohort consisted of 18 248 women who underwent                   medical TOP was followed by one abdominal hysterectomy, one sat-
medical TOP between 2003 and 2006, 94% during the ﬁrst trimester              uration of the cervix and one other repair operation. There were no
and 6% during the second trimester. During that period 57 and 95% of          thromboembolic diseases during follow-up. There were no deaths as a
all terminations of pregnancy were performed medically in the ﬁrst and        result of TOP during the study period.
second trimester, respectively.                                                   The effect of increasing gestation on the surgical evacuation, infec-
    The duration of gestation [median (IQR)] was 7 weeks (7–8) during         tion and haemorrhage was evaluated. The overall incidence of surgical
the ﬁrst trimester and 15 weeks (14 –17) during the second trimester.         evacuation following medical TOP was 9.9% (95% CI 9.5– 10.3). The
Table I shows the demographics of the study groups. Compared with             percentages of surgical evacuation compared with increasing gestation
the ﬁrst trimester cohort, women undergoing medical TOP during the            are shown in Fig. 2. The need for surgical evacuation increased as
second trimester were younger, more often single or cohabiting and            gestational weeks increased beyond 11. The overall incidence of infec-
less often married. They were also more often of lower socioeco-              tion following medical TOP was 2.1% (95% CI 0.8–3.9). The percen-
nomic status and had had fewer previous deliveries. In the second tri-        tages of infection compared with increasing gestation are shown in
mester, the indication for medical TOP was more often age under 17            Fig. 3. The risk of infection increased with increasing gestation. The

                                                                                                                                 EX. 15 pg. 03
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   Table I Demographics of the women undergoing medical TOP in 2003 –2006.

                                                           First trimester (n 5 17087)                                Second trimester (n 5 1161)                                  P-value
  .............................................................................................................................................................................................
   Age (years)                                                  25 (20– 32)                                             22 (18– 30)                                                ,0.001
   Marital status
      Married                                                3235 (18.9)                                              119 (10.2)                                                   ,0.001
      Cohabiting                                             2843 (16.6)                                              222 (19.1)                                                      0.03
      Single                                               11009 (64.4)                                               820 (70.6)                                                   ,0.001
   Residence
      Urban                                                12379 (72.4)                                               853 (73.5)                                                      0.5
      Densely populated                                      2494 (14.6)                                              155 (13.4)                                                      0.2




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      Rural                                                  2214 (13.0)                                              153 (13.2)                                                      0.8
   Socioeconomic status
      Upper white-collar workers                             1010 (5.9)                                                 27 (2.3)                                                   ,0.001
      Lower white-collar workers                             3299 (19.3)                                              159 (13.7)                                                   ,0.001
      Blue-collar workers                                    2214 (13.0)                                              148 (12.7)                                                      0.8
      Students                                               5895 (34.5)                                              400 (34.5)                                                      0.97
      Others                                                 1086 (6.4)                                                 80 (6.9)                                                      0.5
      Unknown                                                3583 (21.0)                                              347 (29.9)                                                   ,0.001
      Previous deliveries                                    7478 (43.8)                                              416 (35.8)                                                   ,0.001
      Previous miscarriage                                   2164 (12.7)                                              152 (13.1)                                                      0.7
      Previous TOP                                           2664 (15.6)                                              184 (15.8)                                                      0.8
   Current TOP
      Year of TOP
         2003                                                3691 (21.6)                                              265 (22.8)                                                      0.3
         2004                                                4270 (25.0)                                              314 (27.0)                                                      0.1
         2005                                                4553 (26.6.)                                             295 (25.4)                                                      0.4
         2006                                                4573 (26.8)                                              287 (24.7)                                                      0.1
      Indication for TOP
         Woman’s health                                         46 (0.3)                                                13 (1.1)                                                   ,0.001
         Social                                            15317 (89.6)                                               914 (78.7)                                                   ,0.001
         Ethical                                                 6 (,0.1)                                                0                                                            0.7
         Age , 17                                            1035 (6.1)                                               160 (13.8)                                                   ,0.001
         Age ≥ 40                                             417 (2.4)                                                 27 (2.3)                                                      0.8
         ≥4 deliveries                                        219 (1.3)                                                 18 (1.6)                                                      0.4
         Unknown                                                47 (0.3)                                                29 (2.5)                                                   ,0.001

   Data shown as numbers (percentages) or median (IQR, interquartile range).



overall incidence of haemorrhage following medical TOP was 16.9%                                       This nationwide retrospective cohort study gives information about
(95% CI 15.6– 18.2). The risk of haemorrhage varied according to                                    the contemporary use of medical abortion in non-selected material. It
gestation.                                                                                          was derived from a registry, the coverage of which is almost 100%
                                                                                                    (Gissler et al., 1996). In addition, the hospital registry data for in-patient
                                                                                                    care, the provision of which is mandatory, was available from all hospitals
Discussion                                                                                          and out-patient care data were available from all public hospitals, adding
We found that in comparison with the ﬁrst trimester medical TOP,                                    to the information value of the study. There were, however, differences
second trimester medical TOP was associated with an increased                                       in coding treatments (Nordic Centre for Classiﬁcations in Health Care,
risk of surgical evacuation and infection. However, serious compli-                                 2010) and diagnoses (International Statistical Classiﬁcation of Diseases,
cations that need surgical repair after medical TOP and medical                                     2010) among Finnish hospitals. Thus, the severity of reported adverse
second trimester TOP were rare 0.1 and 0.3%, i.e. 1 and 3 per                                       events may vary considerably. Moreover, while the registry differen-
1000 procedures, respectively. The present results also conﬁrm                                      tiates between medical and surgical TOP, the database does not
that in Finland second trimester TOP (i.e. during gestational Weeks                                 provide precise information on the medication used to perform TOP.
13– 24) is mostly (95%) performed medically.                                                        We therefore restricted our analysis to years 2003– 2006, during

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   Table II Adverse events and complications among women undergoing TOP between 2003 and 2006.

                                             First trimester                     Second trimester                   OR (95% CI)             P-value        Adj. ORa                P-value
                                             (n 5 17 087)                        (n 5 1161)
  .............................................................................................................................................................................................
   Adverse event
   1. Surgical evacuation (total)            1357 (7.9)                          447 (38.5)                           7.3 (6.4–8.3)          ,0.001          7.8 (6.8–8.9)         ,0.001
      At the time of TOP                       396 (2.3)                         306 (26.4)                         15.1 (12.8–17.8)         ,0.001        15.2 (12.8–18.0)        ,0.001
      During follow-up                         961 (5.6)                         141 (12.1)                           2.3 (1.9–2.8)          ,0.001          2.5 (2.1–3.1)         ,0.001
   2. Haemorrhage (total)                    2937 (17.2)                         167 (14.4)                           0.8 (0.7–0.96)           0.01          0.8 (0.7–0.98            0.03
     Haemorrhage with surgical                 541 (3.2)                          96 (8.3)                            2.8 (2.2–3.5)          ,0.001          3.1 (2.4–3.9)         ,0.001
   evacuation




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   3. Infection (total)                        330 (1.9)                          46 (4.0)                            2.1 (1.5–2.9)          ,0.001          2.1 (1.5–2.9)         ,0.001
     Infection with surgical                   138 (0.8)                          28 (2.4)                            3.0 (2.0–4.6)          ,0.001          3.3 (2.2–5.0)         ,0.001
   evacuation

   Data are shown as n (%).
   a
    First trimester cohort was used as a reference adjusted for age, marital status, socio-economic status, previous deliveries and indication for TOP.




  Figure 2 Percentage of surgical evacuation in relation to duration
                                                                                                       Figure 3 Percentage of infection in relation to duration of gestation
  of gestation following medical TOP in 2003 – 2006. Bars represent
                                                                                                       following medical TOP in 2003 – 2006. Bars represent 95% CI for
  95% CI for percentage.
                                                                                                       percentage.



which medical TOP using mifepristone and misoprostol was widespread                                 evacuation (8%: Ashok et al., 2004) following medical second trime-
throughout the country (THL, 2010a).                                                                ster TOP, reported from centres with extensive experience with
   The rate of surgical evacuation associated with second trimester                                 medical methods, can also be reached at a national level.
medical TOP was high (39%) in the present study. A potential expla-                                    Reassuringly, the incidence of infection leading to a hospital visit
nation is that these data are derived from hospitals treating ,200                                  (4%) following medical second trimester TOP in this nationwide
second trimester terminations of pregnancy per year with all                                        study was similar to that 3% reported earlier (Ashok et al., 2004;
doctors performing the treatments. This may lead to unnecessary sur-                                Lohr et al., 2008). Moreover, the risk of infection was largely associ-
gical treatments. Further, surgical evacuation of the uterus quickly after                          ated with evacuation of residual tissue.
expulsion of the fetus was more or less routine until year 2000. For                                   It is interesting to note that the incidence of reported haemorrhage
example, we published surgical evacuation percentages of 45–64%                                     was lower during the second trimester TOP when compared with that
associated with second trimester medical TOP performed with mife-                                   of the ﬁrst trimester. However, if haemorrhage occurred, it resulted in
pristone and misoprostol in 2001 (Heikinheimo et al., 2004). Never-                                 surgical intervention in more than half of the cases during the second
theless, it will be interesting to see if the low rates in surgical                                 trimester and in less than one-ﬁfth of the cases during the ﬁrst trimester.

                                                                                                                                                                     EX. 15 pg. 05
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Also the need of surgical evacuation of residual tissue seemed to occur   Bartlett LA, Berg CJ, Shulman HB, Zane SB, Green CA, Whitehead S,
earlier following second than ﬁrst trimester TOP. It may be speculated       Atrash HK. Risk factors for legal induced abortion-related mortality in
that the lower rate of haemorrhage seen after the second trimester           the United States. Obstet gynecol 2004;103:729 – 737.
TOP is due to the fact that these women are managed at the hospital       Davies M, Anderson R, Belﬁeld T, Dhillon C. The care of women
                                                                             requesting induced abortion. 2004. Available at: http://www.rcog.org.
and also undergo surgical evacuation more often. Thus, the lower inci-
                                                                             uk/womens-health/clinical-guidance/care-women-requesting-induced-
dence of reported haemorrhage following the second trimester TOP
                                                                             abortion.
may be more due to different management than to a biological differ-
                                                                          FINLEX. 1970. FINLEXw - Ajantasainen lainsäädäntö: 24.3.1970/239.
ence(s) between the ﬁrst and second trimester TOP.                           Available at: http://www.ﬁnlex.ﬁ/ﬁ/laki/ajantasa/1970/19700239 (14
   The optimal method for second trimester TOP continues to be               December 2010, date last accessed).
debated, as medical second trimester TOP with mifepristone and mis-       Finnish Medical Society Duodecim. 2007. www.kaypahoito.ﬁ -
oprostol is associated with higher overall rate of adverse events and        Suositukset.     Available     at:    http://www.kaypahoito.ﬁ/web/kh/
complications when compared with dilatation and evacuation                   suositukset/naytaartikkeli/tunnus/hoi27050. (14 December 2010,




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(Grimes, 2008; Lohr et al., 2008). However, TOP performed with               date last accessed).
mifepristone and misoprostol during gestational Weeks 13 –24 has          Gissler M, Ulander VM, Hemminki E, Rasimus A. Declining induced
been shown to be effective and acceptable (Ashok et al., 2004;               abortion rate in Finland: data quality of the Finnish abortion register.
                                                                             Int J Epidemiol 1996;25:376 – 380.
Lohr et al., 2008). The safety of surgical TOP at more than 15
                                                                          Grimes D. The choice of second trimester abortion method: evolution,
weeks of gestation depends on the skills of the practitioners
                                                                             evidence and ethics. Reprod Health Matters 2008;16:183– 188.
(Grimes, 2008; Lohr et al., 2008). As the medical method for TOP
                                                                          Guttmacher Institute. 2009. Facts on Induced Abortion Worldwide.
is less dependent on the skills of doctors, it might be the preferred        Guttmacher Institute, 1 – 2. Available at: http://www.guttmacher.org/
method in some health care settings.                                         pubs/fb_IAW.html. (14 December 2010, date last accessed).
   We conclude that in comparison with medical TOP performed              Heikinheimo O, Suhonen S, Haukkamaa M. One- and 2-day
during the ﬁrst trimester, medical second trimester TOP was associ-          mifepristone-misoprostol intervals are both effective in medical
ated with increased frequency of adverse events, most of which are           termination of second-trimester pregnancy. Reprod Biomed Online
minor. However, the risks of surgical evacuation or infection did not        2004;8:236 – 239.
increase with increasing gestation duration in the second trimester.      International Statistical Classiﬁcation of Diseases. 2010. ICD-10: Available
These data encourage further development and use of medical                  at: http://apps.who.int/classiﬁcations/apps/icd/icd10online/. (14
methods for second trimester TOP.                                            December 2010, date last accessed).
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